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Attorneys for Plaintiffs

[Additional counsel appear on signature page.]

                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF ALASKA


UNITE HERE NATIONAL RETIREMENT                   ) No. 3:06-cv-00239-RRB
FUND, LONDON PENSIONS FUND                       )
AUTHORITY and JEFFREY PICKETT,                   ) STIPULATION OF REMAND AND
Derivatively on Behalf of BP P.L.C., BP          ) [PROPOSED] ORDER THEREON
AMERICA, INC., BP OIL CO. INC. and BP            )
EXPLORATION (ALASKA) INC.,                       )
                                                 )
                             Plaintiffs,         )
                                                 )
       vs.                                       )
                                                 )
THE LORD JOHN BROWNE OF                          )
MADINGLEY, et al.,                               )
                                                 )
                             Defendants,
                                                 )
       – and –                                   )
                                                 )
BP P.L.C., et al.,                               )
                                                 )
                       Nominal Defendants.       )
                                                 )
                                                 )




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       WHEREAS this shareholder derivative action was commenced on October 2, 2006, in the

Superior Court for the State of Alaska, Third Judicial District at Anchorage (“Alaska State Court”);

       WHEREAS on October 24, 2006, nominal party BP America Inc. (later joined by all

defendants and all other nominal parties) removed this action to federal court pursuant to 28 U.S.C.

§§1332 and 1441(b) based on diversity of citizenship between the plaintiffs and defendants;

       WHEREAS on November 22, 2006, plaintiffs moved to remand this action to the Alaska

State Court; and

       WHEREAS the parties agree that there is no diversity of citizenship and that the Court

therefore lacks subject matter jurisdiction over this matter;

       THE PARTIES, through their respective counsel, hereby stipulate as follows and seek the

Court’s approval that:

       1.       This action be remanded forthwith from the United States District Court of Alaska to

the Alaska State Court;

       2.       That plaintiffs take nothing on their request for costs and expenses pursuant to 28

U.S.C. §1447(c); and

       3.       That a copy of this Stipulation of Remand and [Proposed] Order Thereon be filed in

the Office of the Clerk of the Alaska State Court.

       IT IS SO STIPULATED.

DATED: December 11, 2006                         FELDMAN ORLANSKY & SANDERS
                                                 JEFFREY M. FELDMAN
                                                 Alaska Bar No. 7605029


                                                                        //S//
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                                    John L. Warden
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                                    John Browne; John H. Bryan; John G.S.
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                                    C. Conn; Erroll B. Davis, Jr.; Debra A. Dowling;
                                    Douglas J. Flint; William Douglas Ford; Alastair
                                    M. Graham; Byron E. Grote; Anthony B.
                                    Hayward; Deanne S. Julius; Charles F. Knight;
                                    Floris A. Maljers; Robert A. Malone; Neil R.
                                    McCleary; Thomas F.W. McKillop; John A.
                                    Manzoni; Stephen Marshall; Walter E. Massey;
                                    H. Michael P. Miles; Robin B. Nicholson;
                                    Richard L. Olver; Chris J. Phillips; Ross J.
                                    Pillari; Daniel B. Pinkert; Debra A. Plumb;
                                    Stanley P. Presley; Ian M.G. Prosser; Ian
                                    Springett; Peter D. Sutherland; and Michael H.
                                    Wilson; and nominal defendants BP p.l.c.; BP
                                    America Inc.; and BP Exploration (Alaska) Inc.

DATED: December 11, 2006            HELLER EHRMAN LLP
                                    JAMES E. TORGERSON
                                    Alaska Bar No. 85090120


                                                          //S//
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       Case 3:06-cv-00239-RRB Document 47 Filed 12/11/06 Page 3 of 4
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                                           Attorneys for Plaintiffs

                                      *     *      *

                                          ORDER

         IT IS SO ORDERED.

DATED: _________________________
                                          THE HONORABLE RALPH R. BEISTLINE
                                          UNITED STATES DISTRICT JUDGE
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